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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                   )
                                            )           8:05CR131
                    Plaintiff,              )
                                            )
       vs.                                  )            ORDER
                                            )
SCOTT D. FREESE,                            )
                                            )
                    Defendant.              )



       Defendant’s Motion to Compel (Filing No. 154) is scheduled for hearing before the
undersigned magistrate judge at 2:30 p.m. on April 7, 2006, in Courtroom No. 7, Second
Floor, Roman L. Hruska United States Courthouse, 111 South 18th Plaza, Omaha,
Nebraska.
       This being a criminal case, defendant must be present unless otherwise ordered by
the court.
       DATED this 3rd day of April, 2006.
                                                 BY THE COURT:


                                                 s/ Thomas D. Thalken
                                                 United States Magistrate Judge
